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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11   RAMONE ANDERSON,                         Case No. 5:21-cv-00845-JGB-MAA
  12                       Petitioner,
              v.                                JUDGMENT
  13
  14   FELIPE MARTINEZ,
  15                       Respondent.
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  17         Pursuant to the Order Accepting Report and Recommendation of the United
  18   States Magistrate Judge,
  19         IT IS ORDERED AND ADJUDGED that the Petition is denied and the
  20   action is dismissed without prejudice.
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  22   DATED: November , 2021
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                                         JESUS G.. BERNAL
  25                                     UNITED
                                         UNITTED STATES DISTRICT JUDGE
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